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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                WESTERN DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                  NO. 4:14CR00152-03-JLH

BILLY TAD EARNEST                                                                    DEFENDANT

                                             ORDER

       The United States has filed a response to Billy Tad Earnest’s motion under 28 U.S.C. § 2255

to vacate, set aside, or correct his sentence. If Earnest wishes to file a reply, he must do so on or

before October 27, 2016.

       IT IS SO ORDERED this 6th day of October, 2016.



                                                      __________________________________
                                                      J. LEON HOLMES
                                                      UNITED STATES DISTRICT JUDGE
